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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


                                                Case No. 1:22-cr-00673-LAK
 UNITED STATES OF AMERICA,
                                                ONUSZ CLASS ACTION PLAINTIFFS’
                         -against-              LIMITED (1) RESPONSE TO MDL
                                                PLAINTIFFS’ ANCILLARY
 SAMUEL BANKMAN-FRIED, et. al.,                 PROCEEDINGS PURSUANT TO 21
                                                U.S.C. § 853(n); AND (2) LIMITED
                                 Defendants.    JOINDER TO FTX DEBTORS’ AND
                                                FTX DIGITAL MARKETS’ PETITION


       Austin Onusz, Cedric Kees van Putten, Nicholas J. Marshall and Hamad Dar, plaintiffs in

the putative class action adversary proceeding (the “Onusz Class Action Plaintiffs”) pending before

the United States Bankruptcy Court for the District of Delaware (the “Delaware Bankruptcy

Court”) on behalf of victimized customer depositors of FTX.com and FTX US (together, “FTX”)

entitled Onusz et al. v. West Realm Shires Inc. et al., Adv. Pro. No. 1:22-ap-50513 (JTD) (the

“Onusz Adversary Class Action”), hereby file this limited:

       (1)     Response to the Ancillary Petition for Rehearing to Adjudicate Validity of
               Legal Interest and Right to Forfeited Property Under 21 U.S.C. § 853(n),
               dated June 17, 2024 (ECF 454) (the “MDL Plaintiffs’ Petition”), filed on
               behalf of the plaintiffs (the “MDL Plaintiffs”) in In Re: FTX Cryptocurrency
               Exchange Collapse Litigation (MDL No. 3076) in the Southern District of
               Florida (the “FTX MDL”); and

       (2)     Joinder to the Third-Party Movants FTX Debtors’ and FTX Digital
               Markets’ Verified Petition for Ancillary Proceedings Pursuant to 21 U.S.C.
               § 853(n), dated June 14, 2024 (ECF 450) (the “FTX Petition”).

       The Onusz Class Action Plaintiffs are interested parties in the property that is subject to

the March 29, 2024 Preliminary Order of Forfeiture/Money Judgment (ECF 423) (the “Forfeited

Property”) and the Section 853(n) petitions (ECFs 446, 447, 450, 454) because they are each a

customer who has unreturned digital assets and/or fiat currency on deposit at FTX at the time of

its November 2022 bankruptcy. The Onusz Class Action Plaintiffs initiated the Onusz Adversary
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Class Action in December 2022 seeking to recover the customer deposits that were misused by the

FTX Insiders (including Samuel Bankman-Fried) to, among other things, obtain the Forfeited

Property. 1 (See Exhibit A).

                     (1)     Limited Response to the MDL Plaintiffs’ Petition

          The crux of the MDL Plaintiffs’ argument before this Court is that, because they “have

moved for preliminary approval . . . of several class action settlements with FTX Insiders and

Promoters, including Defendant Sam Bankman-Fried” in the FTX MDL, “the MDL is best situated

to distribute the [Forfeited Property].” (MDL Plaintiffs’ Petition at 1). The MDL Plaintiffs

likewise note that “the MDL has already settled claims the MDL Class had with SBF and Co-

Defendants Caroline Ellison, Gary Wang, and Nishad Singh, each of whom is jointly and severally

liable for the $8 billion Forfeited FTX Customer Assets derived from FTX customer funds, and

administration of those settlements dovetails with the distribution of the forfeiture proceeds.” (Id.

at 4). There are three fundamental problems with these arguments.

          First, the MDL Plaintiffs concede that their settlements with the FTX Insiders merely

“obtained documents and information” and “an agreement not to object to the distribution of the

forfeiture funds at issue here through the MDL.” (Id. at 4). The settlements with the FTX Insiders

do not provide any monetary recovery or any right to the Forfeited Property, so it is the proverbial

“tail wagging the dog” to cite their nominal non-monetary settlements as a basis for distributing

billions of dollars through the FTX MDL or to claim that administration of those non-monetary

settlements somehow “dovetail” with administration and distribution of the Forfeited Property (id.

at 27).




1
    The FTX Insiders are Samuel Bankman-Fried, Zixiao “Gary” Wang, Caroline Ellison and Nishad Singh.


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       The MDL Plaintiffs’ massive overreach is underscored by Hon. Judge Moore’s recent order

on their motion for preliminary approval of the settlements calling into question whether he will

“likely” be able to approve the settlements at all. Judge Moore’s July 18, 2024 order notes that

the “FTX Debtors argue in the Adversary Proceeding that the automatic stay provided in the

Bankruptcy Code should be extended to the MDL FTX Insider and VC Actions because these

actions ‘assert claims that are property of the FTX Debtors’ estate.’” (Exhibit B). Accordingly,

Judge Moore’s order requires the MDL Plaintiffs to file a response by August 1, 2024, to address,

among other things “why [the FTX MDL] should not defer ruling on Plaintiffs’ Motion for

Preliminary Approval until after the issues raised in the Adversary Proceeding have been resolved

by the Bankruptcy Court.” (Id.).

       Second, the in-doubt settlements upon which the MDL Plaintiffs rely to claim they should

administer the Forfeited Property also seek to settle additional claims (other than those that belong

to the FTX Debtors) that they neither control nor have the authority to settle. The MDL Plaintiffs’

settlements purport to settle and release all claims by customers against Mr. Bankman-Fried and

the other FTX Insiders, which include the Onusz Class Action Plaintiffs’ putative class claims

asserted in the Delaware Bankruptcy Court on behalf of customer victims. But significantly, both

the MDL Panel and the Delaware Bankruptcy Court have already rejected efforts by the MDL

Plaintiffs and FTX Insiders to sever and/or transfer the Onusz Class Action Plaintiffs’ claims

against the FTX Insiders to the FTX MDL to be combined with the MDL Plaintiffs’ claims. (See

Exhibits C, D, hereto). The MDL Panel found that the MDL Plaintiffs’ attempt to take control of

the Onusz Class Action Plaintiffs’ claims failed to “account for the inefficiencies that likely would

be caused by separating Onusz from the rest of the proceedings in the Delaware Bankruptcy

Court.” (Exhibit C at 2). The Delaware Bankruptcy Court likewise found that “[t]he most




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convenient and expeditious means to adjudicate [the Onusz Class Claims] is to litigate them within

the adversary proceeding before this Court.” (Exhibit D at 3). The MDL Plaintiffs do not even

try to hide that they are trying to hijack the customer claims in the Delaware Bankruptcy Court, as

evident from the fact that the partial consideration for their settlements includes the FTX Insiders’

“reasonable efforts to support the transfer of the claims against them in the Onusz Adversary

Proceeding to this MDL” (FTX MDL ECF 565 at 8).

       Third, in contravention of these previous rulings, the MDL Plaintiffs are still attempting to

settle all claims against the FTX Insiders by customer victims who have unreturned assets that

were on deposit at FTX at the time of the bankruptcy and to split the proceeds—which, if their

petition is successful, will include the Forfeited Property—with former customers and purchasers

of any FTX product at any time. In this regard, the MDL Plaintiffs’ preliminary approval order

seeks to certify an exceedingly broad settlement class defined as:

               All persons or entities who, within the applicable limitations period,
               purchased or held legal title to and/or beneficial interest in any fiat
               or cryptocurrency deposited or invested through an FTX Platform,
               purchased or enrolled in a YBA, or purchased FTT. To the extent
               not otherwise included in the Class, Class Members include
               customers of the FTX Group who deposited cash and/or digital
               assets at either or both of the FTX Group’s U.S.-based and
               non-U.S.-based trading platforms and have been unable to
               withdraw, use or access the billions of dollars in assets that were
               contractually required to be held safely in accounts on their behalf.

(FTX MDL ECF 565 at 9).

       The parties before the bankruptcy court have already crafted a comprehensive settlement

of the customer property issues that make the recovery and distribution of customer funds a priority

and that settlement has already been fully incorporated into the court-approved disclosure

statement and proposed plan, confirmation of which will be before the Delaware Bankruptcy Court




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in early October. 2 Recovery of the unreturned assets that were misappropriated by the criminal

FTX Insiders is a material part of that process and the appropriate place to distribute the Forfeited

Property is through the well-developed and ongoing claims administration for customer and

creditor claims in the Delaware Bankruptcy Court. There is simply no rational basis for the MDL

Plaintiffs to overreach both to attempt to include FTX customer claims in any settlement and to

claim they should receive and administer the Forfeited Funds.

       Moreover, it would be manifestly unjust to customers with unrecovered assets for the MDL

Plaintiffs to commingle recovered customer funds with money recovered on far more speculative,

vastly different, and weaker, claims. If the MDL Plaintiffs wish to distribute any recovered

proceeds from claims against the celebrity promoters and other third-party defendants in the FTX

MDL—to date, the MDL Plaintiffs have recovered $1,359,485 (FTX MDL ECF 565 at 2)—with

former customers who merely purchased tokens or other unregistered securities from FTX, or used

the FTX exchanges but did not have unreturned money or digital assets on deposit at the time of

the bankruptcy, so be it. But the missing customer deposits and the Forfeited Property that was

acquired using those missing customer deposits must exclusively go back to the current customer

victims on a pro rata basis. For this reason, the Onusz Class Action Plaintiffs have joined the FTX

Debtors’ pending motion before the Delaware Bankruptcy Court to stay or enjoin the MDL

Plaintiffs’ action against the FTX Insiders. (Exhibit E).

                          (2)     Limited Joinder to the FTX Petition

       As stated above, even if the FTX MDL court approves their non-monetary settlement with

Mr. Bankman-Fried or the other FTX Insiders despite the FTX Debtors’ motion to stay those



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 See In re FTX Trading Ltd., et al., Case No. 22-11068 (JTD), ECF 3291 Ex. A; ECF 19139 at 48-49;
ECF 19143 at 43; ECF 19150.


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proceedings (which Judge Moore’s recent order calls in to significant doubt), 3 it does not follow

that the billions of dollars should be administered through the FTX MDL. To the contrary, to

ensure efficient and fair distribution to customer victims, any such distribution of Forfeited

Property (minus any holdback required by the Department of Justice for the benefit of the victims

of the crimes committed by Mr. Bankman-Fried who are not expected to receive any recovery

through the bankruptcy) should go through the FTX bankruptcy administration before the

Delaware Bankruptcy Court (along with any recovery resulting from the Onusz Adversary Class

Action).

          Accordingly, the Onusz Class Action Plaintiffs join in the FTX Petition based on their

agreement with the FTX Debtors that “[d]istributing the value of the Specific Property to the more

than 1 million victims of Bankman-Fried’s criminal scheme . . . through the Debtors’ existing

claims administration architecture and processes will maximize the funds available for distribution

by minimizing the incremental administrative and professional costs.” (FTX Petition at 16,

17). There is already a well-established claims process in the Chapter 11 proceedings before the

Delaware Bankruptcy Court to return funds to current customer victims and, to a lesser extent,

other creditors that were previously carefully negotiated and approved. Distribution through the

FTX MDL, by contrast, would mean that, in addition to complex questions of which of the endless

class members in that proceeding should recover what, there would be an entirely new claims

process outside of the bankruptcy. Current customer claimants and creditors should not have to

pay for all the costs that would entail, if it is even possible for the MDL Plaintiffs to fairly make

such determinations.




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    See FTX Trading Ltd. v. Chernyavsky et al., Adv. Pro. No. 24-50072-JTD (Bankr. D. Del.), ECF 2.


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       The Onusz Class Action Plaintiffs reserve their right to make additional arguments based

on the content of the Petitioners’ or Government’s future submissions and/or oral argument, if any.

Dated: July 26, 2024

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